Case 20-19017-RG      Doc 45     Filed 10/22/20 Entered 10/22/20 13:18:06     Desc Main
                                 Document      Page 1 of 2



                        Gregory Kinoian Law LLC
                                    8-15 Elaine Terrace
                                 Fair Lawn, NJ 07410-5709
                               (201) 741-6341 (voice or text)
                                   gkinoian@gmail.com

                                       Of Counsel to
                                 Aboyoun Dobbs LLC
                                  77 Bloomfield Avenue
                                  Pine Brook, NJ 07058
                                  Tel: (973) 575-9600
                                  Fax: (973) 575-1925

October 22, 2020

By CM-ECF and E-Mail chambers_of_rg@njb.uscourts.gov

The Honorable Rosemary Gambardella
United States Bankruptcy Judge
United States Bankruptcy Court
for the District of New Jersey
50 Walnut Street, 3rd Floor
Courtroom 3E
Newark, New Jersey 07102

Re:   In re Health Tech Harbor, Inc., Involuntary Chapter 7
      Case No. 20-19017 (RG)

      Submission of Proposed Mediation Order and Proposed Initial Pre-
      Trial Scheduling Order and Request for Adjournment and
      Rescheduling of Status Conference Currently Scheduled for October
      27, 2020 at 10:30 a.m.

Dear Judge Gambardella:

With the consent of counsel to the Petitioning Creditors in the above-referenced matter,
we respectfully request entry of the two proposed orders submitted herewith. One is the
proposed Mediation Order, among other things, appointing Morris Bauer of Norris
McLaughlin, P.A. as mediator. The other is the proposed Initial Pre-Trial Order along the
terms discussed during our October 13, 2020 status conference. Please be advised that
mediation is currently scheduled for November 4, 2020.

Also with the consent of counsel to the Petitioning Creditors, we respectfully request
that the continuation of the status conference, currently scheduled for October 27, 2020
at 10:30 a.m., be adjourned and rescheduled to either November 10, 2020 or November
17, 2020. Either date is acceptable to counsel.
Case 20-19017-RG       Doc 45   Filed 10/22/20 Entered 10/22/20 13:18:06     Desc Main
                                Document      Page 2 of 2



                             Gregory Kinoian Law LLC
                                     Of Counsel to
                                 Aboyoun Dobbs LLC

Hon. Rosemary Gambardella
October 22, 2020
Page 2 of 2


Please contact the undersigned and Mr. Mascitti of McCarter & English, LLP if there are
any questions or issues regarding any of the foregoing.

Respectfully yours,



Gregory S. Kinoian
(Member of NJ and NY Bars)

Enclosures

cc:    (All by e-mail with enclosure
       Gregory J. Mascitti, Esq. (gmascitti@mccarter.com)
       Phillip Pavilick Esq. (ppavlick@mccarter.com)
       Jeffery Thomas Testa, Esq. (jtesta@mccarter.com)
